     Case:08-08313-ESL7 Doc#:43 Filed:02/16/10 Entered:02/16/10 14:22:12         Desc: Main
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 1                          IN THE UNITED STATES BANKRUPTCY COURT FOR
                                   THE DISTRICT OF PUERTO RICO
 2

 3     IN THE MATTER OF:

 4     ISRAEL   LOPEZ ALVARADO                   CASE NO. 08-08313 ESL
                                                 Chapter 7
 5
       XXX-XX-9429
 6
                                                 FILED & ENTERED ON 02/16/2010
 7
                       Debtor(s)
 8

 9
                                       DISCHARGE OF DEBTOR
10
            It appearing that the debtor is entitled to a discharge, IT IS ORDERED:    The
11
      debtor is granted a discharge under section 727 of title 11, United States Code,
12
      (the Bankruptcy Code).
13
             San Juan, Puerto Rico, this 16 day of February, 2010.
14

15
                                                             BY THE COURT
16

17                                                      Enrique S. Lamoutte Inclan
                                                           U.S. Bankruptcy Judge
18

19
      cc:   all creditors
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21

22                   SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.

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 1               EXPLANATION OF BANKRUPTCY DISCHARGE IN A CHAPTER 7 CASE

 2        This court order grants a discharge to the person named as the debtor. It is
      not a dismissal of the case and it does not determine how much money, if any, the
 3    trustee will pay to creditors.

 4    Collection of Discharged Debts Prohibited

 5         The discharge prohibits any attempt to collect from the debtor a debt that
      has been discharged. For example, a creditor is not permitted to contact a
 6    debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach
      wages or other property, or to take any other action to collect a discharged debt
 7    from the debtor. [In a case involving community property:] [There are also
      special rules that protect certain community property owned by the debtor's
 8    spouse, even if that spouse did not file a bankruptcy case.] A creditor who
      violates this order can be required to pay damages and attorney's fees to the
 9    debtor.
10         However, a creditor may have the right to enforce a valid lien, such as a
      mortgage or security interest, against the debtor's property after the
11    bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case.
      Also, a debtor may voluntarily pay any debt that has been discharged.
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      Debts That are Discharged
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           The chapter 7 discharge order eliminates a debtor's legal obligation to pay
14    a debt that is discharged. Most, but not all, types of debts are discharged if
      the debt existed on the date the bankruptcy case was filed. (If this case was
15    begun under a different chapter of the Bankruptcy Code and converted to chapter
      7, the discharge applies to debts owed when the bankruptcy case was converted.)
16
      Debts that are Not Discharged
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           Some of the common types of debts which are not discharged in a chapter 7
18    bankruptcy case are:
19             a. Debts for most taxes;
20             b. Debts that are in the nature of alimony, maintenance or support;
21             c. Debts for most student loans;
22             d. Debts for most fines,       penalties,   forfeitures,   or    criminal
                  restitution obligations;
23
               e. Debts for personal injuries or death caused        by   the   debtor’s
24                operation of a motor vehicle while intoxicated;
25             f. Some debts which were not properly listed by the debtor;
26             g. Debts that the bankruptcy court specifically has decided or will
                  decide in this bankruptcy case are not discharged;
27
               h. Debts for which the debtor has given up the discharge protections by
28                signing a reaffirmation agreement in compliance with the Bankruptcy
                  Code requirements for reaffirmation of debts.
29
           This information is only a general summary of the bankruptcy discharge.
30    There are exceptions to these general rules. Because the law is complicated, you
      may want to consult an attorney to determine the exact effect of the discharge in
31    this                                                                        case.
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